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  14                         UNITED STATES DISTRICT COURT
  15                        CENTRAL DISTRICT OF CALIFORNIA
  16                                 SOUTHERN DIVISION
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  18   PLUTOS SAMA HOLDINGS, INC.,            Case No. 8:21-cv-00133-JVS (JDEx)

  19                   Plaintiff,             [PROPOSED] ORDER GRANTING
             v.                               DEFENDANT PLATINUM
  20                                          FORTUNE, LP’S MOTION TO
       JAGEX LIMITED; YAN                     DISMISS AMENDED COMPLAINT
  21   JINGGANG; HUARONG
  22   INTERNATIONAL TRUST CO.                Hearing
       LTD; SHANGHAI HONGTOU                  Date: July 12, 2021
  23   NETWORK TECHNOLOGY CO.                 Time: 1:30 pm
       LTD; SHANGHAI HONGTOU                  Judge: Hon. James V. Selna
  24   NETWORK TECHNOLOGY CO.                 Ctrm: 10C
       LTD TRUST; CHINA MINSHENG
  25   TRUST CO. LTD; PLATINUM
  26   FORTUNE, LP; THE CARLYLE
       GROUP; and DOES 1-20,
  27
                       Defendants.
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                  [PROPOSED] ORDER GRANTING MOTION TO DISMISS AMENDED COMPLAINT
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   1         Before the Court is Defendant Platinum Fortune, LP’s Motion to Dismiss
   2   Plaintiff Plutos Sama Holdings, Inc.’s Amended Complaint, filed on June 14, 2021
   3   (the “Motion”). Upon review of the Motion, and for good cause shown, the Court
   4   GRANTS the Motion, and hereby DISMISSES all of the claims asserted against
   5   Defendant Platinum Fortune in their entirety, and with prejudice.
   6         IT IS SO ORDERED.
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   8   Date: __________, 2021                  _______________________________
   9                                            HONORABLE JAMES V. SELNA
                                               UNITED STATES DISTRICT JUDGE
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                [PROPOSED] ORDER GRANTING MOTION TO DISMISS AMENDED COMPLAINT
